Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 1 of 12 PageID 294



                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        OCALA DIVISION

JOSEPH IOIME, on behalf of himself
And all others similarly situated,

                         Plaintiff,

v.                                                      Case No.: 5:15-cv-130-OC-30-PRL

BLANCHARD, MERRIAM, ADEL &
KIRKLAND, P.A., et al.,

                         Defendants.
                                                        /

                   PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
                    FINAL APPROVAL OF CLASS ACTION SETTLEMENT

          Plaintiff Joseph Ioime, individually and on behalf of all others similarly situated (“Plaintiff”

or “Ioime”), files this Memorandum of Law in Support of the Joint Motion for Final Approval of

the proposed Class Action Settlement. (“Motion”). This memorandum is submitted in support of

final approval of the Parties’ class action settlement. If granted final approval, the Settlement will

resolve the claims of the Plaintiff and the Class and bring this complex litigation to a conclusion.

Final Approval should be granted because the Settlement Agreement is fair, adequate and

reasonable, and provides substantial non-monetary and monetary Settlement benefits to the Class.

                                       MEMORANDUM OF LAW

     I.      INTRODUCTION

          A. Nature of the Lawsuit

          This class action involves a standardized, one-page debt collection communication, titled

“Notice Under The Fair Debt Collection Practices Act.” (hereinafter “Notice”). The Notice is a

standardized form Notice accompanying communications between BMAK LAW FIRM and the

debtors it seeks to collect debts from. The pertinent parts of the Notice provide:
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 2 of 12 PageID 295



                     NOTICE UNDER THE FAIR DEBT COLLECTION
                              PRACTICES ACT (The Act)
                           15 U.S.C. 1601, et seq., As Amended

       As of December 1, 2014, you owe the total amount of $XXXXX, as set forth in the
       document to which this Notice is attached.

       The name of the Creditor is: XXXXX

       The debt described in the document attached to this Notice will be assumed to be
       valid by the creditor’s law firm unless the debtor or the debtor’s attorney, within
       thirty (30) days of receipt of this notice, disputes, in writing, the validity of the debt
       or any portion thereof.
                                                   …

       Written requests required by the Act should be addressed to: BRADFORD J.
       TROPELLO, ESQUIRE, of the law firm of Blanchard, Merriam, Adel & Kirkland,
       P.A., Post Office Box 1869, Ocala, Florida 34478.


       Plaintiff asserts that the Notice violates both the FDCPA and FCCPA because 15 U.S.C. §

1692g(a)(3) and state law set forth no limitation as to the manner in which a consumer can dispute

the validity of the alleged debt. However, in its Notice, BMAK states that in order to dispute the

validity of the debt, Plaintiff and the class must notify the debt collector “in writing.” The Notice

does not allow for any other methods of communication, such as a phone call, email or facsimile

from the consumer to dispute the validity of the debt. Plaintiff asserts that by requiring debtors to

dispute the validity of their debts “in writing,” BMAK unlawfully attempted to curtail some of the

debtors’ rights, including those that are triggered when a consumer disputes the debt through oral

statement. Specifically, Plaintiff alleges that Defendant’s Notice violates FDCPA sections 1692g

and 1692e, as well as the FCCPA sections 559.72(7) and (9).

        Notice was issued to all members of the Settlement Class pursuant to this Court’s

 Preliminary Approval Order as stated in an affidavit of the Settlement Administrator. (See

 Exhibit 1, Affidavit of Settlement Administrator).         As of the date of this filing, no class

 members have opted out of the Settlement and no class members have objected to the terms of


                                                  2
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 3 of 12 PageID 296



 the Settlement.

II.    NATURE OF THE PROPOSED SETTLEMENT

       A.      The Settlement Was Negotiated at Arm's Length

        This Settlement was reached after extensive settlement negotiations over the course of

 many months. The negotiations took place between experienced counsel and were contentious

 and broke down on more than one occasion.              The parties finally reached a Class Action

 Settlement Agreement that was fully executed on February 11, 2016, (“Settlement Agreement”).

 At no time was there any fraud or collusion involved in these settlement negotiations.

       B.      Relief to the Class

       Under the terms of the Settlement, BMAK will create a $6,000.00 Settlement Fund

 that will be disbursed to all Claiming Class Members on a pro-rata basis. As of

 May 2, 2016, 36 class members have filed claims, which results in a potential

 settlement payment of $166.00 for each claiming Class Member.

       Furthermore, the Representative Plaintiff and Class Members agree to release BMAK

 from all claims related to the violations of the Fair Debt Collection Practices Act and the Florida

 Consumer Collection Practices Act as set forth in the operative Complaint in return for the

 Settlement Benefits.

       These Settlement benefits are well within the range of damages alleged in the Complaint.

Both the FDCPA and the FCCPA cap damages at one percent of the defendant’s net worth.

Because BMAK has presented evidence that its net worth is zero, the value of the settlement fund

is above what the class would have received at trial.

       C.      Class Notice

       On March 3, 2016, the Court granted the Plaintiff’s Unopposed Motion for Preliminary

Approval. In the Court's Preliminary Approval Order, the Court approved the form, substance, and


                                                 3
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 4 of 12 PageID 297



requirements of the Notice of Settlement (the "Notice"). Thereafter, Notice was emailed and

mailed to the Settlement Class Members to the mailing address on file with BMAK.        Notices sent

by U.S. Mail were verified by the Settlement Administrator, prior to mailing, by processing the

addresses through the Coding Accuracy Support System (“CASS”) and the National Change of

Address (“NCOA”) databases. As of the date of this filing, only one (1) mailed notice was

returned as undeliverable with no forwarding address.       See Exhibit 1. This Court previously

determined that this Notice procedure met the requirements of the Florida Rules of Civil Procedure

and due process, and constituted the best notice practicable under the circumstances.

        As of May 3, 2016, the Claims Administrator has determined that no class members have

opted out of the Settlement and no class members have objected to the terms of the Settlement. See

Exhibit 1.

        D.      Relief to the Class Representative

        Under the Settlement Agreement, Class Representative, Joseph Ioime, shall receive a Class

Representative Incentive Award in the amount of two thousand dollars ($2,000.00) for his

contribution to the litigation.

        E.      Attorney Fees and Expenses

        Plaintiff and the Class have been represented by the law firm of Varnell & Warwick, P.A.

in this matter. The FDCPA and FCCPA claims asserted in this action both include fee shifting

provisions that do not fall within the statutory damages cap.   As such, attorney fees and costs to

Class Counsel are being paid over and above the Settlement Funds being distributed to the Class.

BMAK has agreed to pay Class Counsel a total of $28,000.00, inclusive of all attorney fees and

litigation expenses. This amount represents less than Class Counsel’s Lodestar and does not

include any multiplier.




                                                4
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 5 of 12 PageID 298



III.   THE SETTLEMENT CLEARLY SATISFIES THE APPLICABLE STANDARDS
       FOR FINAL APPROVAL

       Federal Rules of Civil Procedure 23(a) and (b)(3) requires judicial approval of any class

action settlement. To approve a class action settlement, the Court must evaluate whether the

settlement is "fair, adequate and reasonable and is not the product of collusion between the

parties." In re Managed Care Litig., Master File No. 00-1334-MD-Moreno, 2003 WL 22850070, *

2 (S.D. Fla. October 24, 2003); Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. I

984)(citing Cotton v.     Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977).1 "When a settlement

agreement, as here, has been preliminarily approved, it is 'presumptively reasonable'". Allapattah

Servs. Inc. v. Exxon Corp., 91-0986-CIV, 2006 WL 1132371, *10 (S.D. Fla. April 7, 2006).

       To evaluate whether a settlement is fair and reasonable, Florida courts apply the factors set

forth in Bennett v. Behring Corp., 737 F.2d 982 (11th Cir. 1984).     While a court must apply these

factors, a trial court "ought not to try the case during the settlement hearing and should be hesitant

to substitute his or her judgment for that of counsel." Allapatah, at *10 (citing In re Smith, 926

F.2d 1027, 1028-1029 (11th Cir. 1991); Strube v. Am. Equity Inv. Life Ins. Co., 226 F.R.D. 688,

697 (M.D. Fla. 2005) (recognizing that review of the fairness of a class action settlement does not

require a court engage in an analysis as to the merits of the case). A trial court should not make the

parties "justify each term of settlement against a hypothetical or speculative measure of what

concessions might [be] gained" as a court must be mindful that "compromise is the essence of

settlement." Allapatah, 2006 WL 1 132371, at *10 (quoting Cotton, 558 F.2d at 1330). In

addition, there is "an overriding public interest in favor of settlement, particularly in class actions

that have the well-deserved reputation as being most complex." Ass'n for Disabled Americans,



1
  See Bonner v. Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981)(en banc)(adopting all decision of
the former Fifth Circuit announced prior to October 1, 1981, as binding precedent in the Eleventh
Circuit.

                                                  5
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 6 of 12 PageID 299



Inc. v. Amoco Oil Co., 211 F.R.D. 457, 466 (S.D. Fla. 2002); Bennett, 737 F.2d at 986

(recognizing that a court's judgment is "informed by the strong judicial policy favoring settlement

as well as by the realization that compromise is the essence of settlement") (citing United States

v. City of Miami, 614 F.2d 1322, 1344 (5th Cir. 1980).

       The Bennett factors are: (1) the likelihood of success at trial; (2) the range of possible

recovery; (3) the point on or below the range of possible recovery at which a settlement is fair,

adequate and reasonable; (4) the complexity, expense and duration of litigation; (5) the substance

and amount of opposition to the settlement; and (6) the stage of the proceedings at which the

settlement was reached. Bennett, 737 F.2d at 986 (the "Bennett Factors").

       A.      Likelihood of Success At Trial

       Because the claims at issue are based on statutory interpretation, Plaintiffs stood a strong

likelihood of success at trial. As a result, this Settlement was reached relatively early in the

litigation and provides Class Members with a substantial benefit. Accordingly, this factor indicates

that prolonged discovery and/or trial would be unnecessary in reaching a fair resolution. This

factor, therefore, weighs in favor of approval.

       B.      Range of Possible Recovery And the Fairness of the Settlement Within That
               Range

       The second and third Bennett factors compare the benefits provided by the Settlement to

the benefits that could have been received if the case had proceeded to trial. The Settlement

satisfies these two Bennett factors because the Class could not have received much more, if any, at

a trial on the merits. In fact, if BMAK were able to prove its negative Net Worth, the class would

receive no recovery under either the FDCPA or FCCPA claim.

       Therefore, while the Plaintiff had a substantial likelihood of success on the merits the

amount of the potential recovery may have been much lower. Accordingly, these two factors also



                                                  6
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 7 of 12 PageID 300



support the Settlement.

       C.      Complexity, Expenses and Duration of Litigation

       The fourth Bennett factor requires consideration of the complexity, expense and duration of

the litigation. There can be little doubt that this case would likely take a considerable amount of

additional time to complete. Although class certification discovery was complete, Plaintiff’s

Motion for Class Certification had not been granted, and a trial on the merits would still have to be

completed, along with any potentially corresponding appeals. The only parties that would benefit

from this continued litigation would have been the lawyers on both sides of this matter who would

have spent many more hours of additional time and effort but may not have produced any

substantial additional benefit to the Class above what is offered in this Settlement. Accordingly,

the consideration of these issues supports the Settlement and the fourth Bennett factor.

       D.      Substance and Amount of Opposition to the Settlement

       The fifth Bennett factor requires consideration of the substance and amount of opposition to

a proposed settlement. As of the date of this filing, the Settlement Administrator has determined

that no class members have opted out of the Settlement and no class members have objected to the

terms of the Settlement. (Exhibit 1). In addition, the Settlement Administrator has determined that

36 class members have filed claims as of May 2, 2016. This indicates that the claim forms were

understandable and were delivered to their intended recipients.

       The fact that no class members opted out or objected to the settlement indicates that the

vast majority of the Class viewed the terms of the settlement as fair, adequate, and reasonable. See

Allapattah Servs. Inc., 2006 WL 1 132371, at *12 (determining that the lack of objections to a

settlement is a "significant factor" in determining whether the proposed settlement is fair); Strougo

v. Brazilian Equity Fund, Inc., 258 F.Supp.2d 254, 258 (S.D.N.Y. 2003)(determining that since no

objections to a proposed settlement were received, "those affected by the proposed settlement have


                                                 7
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 8 of 12 PageID 301



overwhelmingly endorsed it as 'fair and reasonable', as it "has repeatedly been held that 'one

indication of the fairness of a settlement is the lack of or small number of objections"'); In Re

SmithKline Beckman Corp. Sec. Litig., 751 F.Supp. 525, 530 (E.D. Pa 1990)(noting that the "utter

absence of objections and nominal number of shareholders who have exercised their right to opt

out. . . militate strongly in favor of approval of the settlement"). As a result, this Bennett factor

also weighs in favor of final approval.

          E.     Stage of the Proceedings at Which the Settlement was Reached

          The final Bennett factor requires consideration of the stage of proceedings at which a

settlement was achieved. This is not a class action that was settled before the parties fully

understood the complexities of the litigation. The parties exchanged discovery so that the total

class size could be determined and the statutes at issue are relatively straight forward with regard to

whether objections to the debts allegedly owed must be made in writing. Therefore, the monetary

payment to the Class Members now, potentially several years before entry of final judgment in

favor of either party, weighs heavily in favor of approving the Settlement. See Borcea Carnival

Corp., 238 F.R.D. 664, 674 (S.D. Fla. 2006) (determining that a "class obtained a significant

benefit from the relatively rapid litigation and settlement of this case", in recognizing that a court

"should consider the vagaries of litigation and compare the significance of immediate recovery by

way of the compromise of the mere possibility of relief in the future, after protracted and extensive

litigation. In this respect, '[i)t has been held proper to take the bird in the hand instead of a

prospective flock in the bush."', quoting In re Shell Oil Refinery, 155 F.R.D. 552, 560 (E.D. La.

1993)).

          Accordingly, all the Bennett factors support a finding by this Court that the proposed

Settlement is fair, adequate and reasonable and Final Approval should be given.




                                                  8
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 9 of 12 PageID 302



IV.    CLASS REPRESENTATIVE “SERVICE AWARD” IS FAIR, ADEQUATE AND
       REASONABLE

       Traditionally, class representatives are compensated for the time and effort in bringing the

litigation on behalf of others through what is termed a “service” or “incentive” award. Service

awards “compensate named plaintiffs for the services they provided and the risks they incurred

during the course of the class action litigation.” Allapattah Services, Inc. v. Exxon Corp., 454

F.Supp.2d 1185, 1218 (S.D.Fla.2006).       “[T]here is ample precedent for awarding incentive

compensation to class representatives at the conclusion of a successful class action.” David v.

American Suzuki Motor Corp., 2010 WL 1628362, at *6 (S.D.Fla. Apr. 15, 2010). Courts have

consistently found service awards to be an efficient and productive way to encourage members of a

class to become class representatives. See, e.g., Ingram v. The Coca–Cola Co., 200 F.R.D. 685,

694 (N.D.Ga.2001) (awarding class representatives $300,000 each, explaining that “the magnitude

of the relief the Class Representatives obtained on behalf of the class warrants a substantial

incentive award.”); Spicer v. Chi. Bd. Options Exchange, Inc., 844 F.Supp. 1226, 1267–68

(N.D.Ill.1993) (collecting cases approving service awards ranging from $5,000 to $100,000, and

awarding $10,000 to each named plaintiff). Courts have found it appropriate to specially reward

named class plaintiffs for the benefits they have conferred. See Allapattah Servs., Inc. v. Exxon

Corp., 454 F.Supp.2d 1185, 1218-19 (S.D.Fla.2006); In re Dun & Bradstreet Credit Servs.

Customer Litig., 130 F.R.D. 366 (S.D.Ohio 1990) (two incentive awards of $55,000, and three

incentive awards of $35,000); Bogosian v. Gulf Oil Corp., 621 F.Supp. 27 (E.D.Pa.1985)

(incentive awards of $20,000 to each of two plaintiffs); In re REVCO Sec. Litig., Arsam Co. v.

Salomon Bros., Inc., 1992 WL 118800, 1992 U.S. Dist. LEXIS 7852 (N.D.Ohio May 5, 1992)

($200,000 to the named plaintiff); Enter Energy Corp. v. Columbia Gas Transmission Corp., 137

F.R.D. 240 (S.D.Ohio 1991) ($50,000 to each class representative, aggregate award of $300,000).

       Here, Mr. Ioime fully participated in representing the class by compiling data and

                                                9
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 10 of 12 PageID 303



cooperating with class counsel. In addition, Mr. Ioime attended a full day of mediation which took

more than 10 hours to complete. Accordingly, the $2,000.00 Service Award set forth in the

Settlement Agreement should be approved because of the time spent by Mr. Ioime personally

participating in this litigation and the benefits obtained. This Court should finally approve the

incentive award set forth in the Settlement Agreement.

V.     PLAINTIFF'S ATTORNEY'S FEES AND EXPENSES ARE FAIR, ADEQUATE
       AND REASONABLE

       “The starting point in fashioning an award of attorney's fees [in a FDCPA action] is to

multiply the number of hours reasonably expended by a reasonable hourly rate.” Loranger v.

Stierheim, 10 F.3d 776, 781 (11th Cir.1994); Hepsen v. J.C. Christensen and Assocs., Inc., No. 10–

12231, 2010 WL 3329836 (11th Cir. Aug.25, 2010) (calculating attorneys' fees under FDCPA

using lodestar); Moton v. Nathan & Nathan, P. C., 297 Fed.Appx. 930, 931–32 (11th Cir.2008)

(holding that lodestar analysis must be used to calculate attorney's fees under the FDCPA). The

product of the reasonable hourly rate and the reasonable hours expended is known as the lodestar

calculation. See Davis v. Locke, 936 F.2d 1208, 1215 (11th Cir.1991). Once the lodestar is

calculated, this lodestar amount may be adjusted. Norman v. Housing Auth. of City of

Montgomery, 836 F.2d 1292, 1302 (11th Cir.1988). However, such an adjustment is “rare”

because “the lodestar method yields a fee that is presumptively sufficient to achieve this

objective.” Perdue v. Kenny A. ex rel. Winn, ––– U.S. ––––, 130 S.Ct. 1662, 1673, 176 L.Ed.2d

494 (2010).

       The proposed Settlement contemplates a total payment of $28,000.00 in attorney fees and

costs to Class Counsel. The fee negotiations were conducted at arm's-length, only after the terms

of the Class benefits had been reached. Attached as Exhibit 2 is a declaration from lead Class

Counsel, Brian Warwick, regarding the time spent on this litigation and the total Lodestar. As

indicated, the total Lodestar for Varnell & Warwick in this matter equates to $43,950.00, which is

                                               10
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 11 of 12 PageID 304



substantially more than the negotiated $28,000.00. When the costs and litigation expenses are

added, Class Counsel is actually receiving significantly less than its Lodestar figure under this

Settlement.

       In light of the above case law and the fact that Class Counsel assumed the risk of this

litigation on a contingency basis, the benefits provided by this Settlement, and the fact that BMAK

has agreed to pay Class Counsel’s attorney fees over and above the relief being provided to the

Class, the attorney fee must be considered eminently reasonable.

       Accordingly, the attorney fee is reasonable in light of the significant amount of time and

effort expended by Class Counsel over the course of the litigation and this Court should approve

the fee as fair, adequate and reasonable.

VI.    CONCLUSION

       For the foregoing reasons, Plaintiff requests that this Court grant final approval of the Class

action Settlement and enter a Final Order and Judgment of Settlement Class and Finally Approving

the Settlement in the form attached as Exhibit 1 to the Joint Motion.

DATED: MAY 3, 2016                             VARNELL & WARWICK, P.A.

                                               /s/ Brian W. Warwick
                                                Brian W. Warwick, FBN: 0605573
                                                Janet R. Varnell, FBN: 0071072
                                                Steven T. Simmons, Jr., FBN: 0091654
                                                P.O. Box 1870
                                                Lady Lake, FL 32158
                                                Telephone: (352) 753-8600
                                                Facsimile:    (352) 504-3301
                                                bwarwick@varnellandwarwick.com
                                                jvarnell@varnellandwarwick.com
                                                ssimmons@varnellandwarwick.com
                                                kstroly@varnellandwarwick.com

                                               COUNSEL FOR PLAINTIFF




                                                 11
Case 5:15-cv-00130-JSM-PRL Document 46 Filed 05/03/16 Page 12 of 12 PageID 305



                               CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on this 3rd day of May, 2016, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send a notice of
electronic filing to the following:

PATRICK M. DELONG
MARSHALL DENNEHEY WARNER
COLEMAN & GOGGIN
100 NE Third Avenue, 11th Floor
Fort Lauderdale, FL 33301
PMDelong@mdwcg.com

                                                  /s/ Brian W. Warwick
                                                  BRIAN W. WARWICK




                                             12
